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 7                              UNITED STATES BANKRUPTCY COURT
 8                                        DISTRICT OF NEVADA
 9   In re                                         Case No.: 24-50792-hlb
                                                   (Chapter 7)
10   META MATERIALS INC.,
11                Debtor.
                                                   DECLARATION OF TRUSTEE LOVATO IN
12                                                 SUPPORT OF EX PARTE APPLICATION
                                                   FOR SUPPLEMENTAL ORDER
13                                                 CONFIRMING SALE OF CERTAIN ASSETS
14                                                 AND INTELLECTUAL PROPERTY ASSETS
                                                   TO PANASONIC PURSUANT TO 11 U.S.C.
15                                                 § 363(b)
16
17
                                                   Hearing Date: N/A
18                                                 Hearing Time: N/A
19
20           Christina Lovato, under penalty of perjury of the laws of the United States, declares:

21           1.      I am the duly appointed and acting chapter 7 Trustee for Meta Materials, Inc.

22   (“Meta Materials”), and I have personal knowledge of the matters stated herein.

23           2.      I have filed an Ex Parte request for entry of a Supplemental Sale Order in

24   conjunction with that certain Order Approving Online Auction For Sale Of Personal Property;

25   Approving Division Of Proceeds Agreement With Landlord Pursuant To 11 U.S.C. § 503(b)

26   (“Auction Order”) at [ECF No. 1660].

27           3.      On February 25, 2025, I filed a Motion For Order Approving Online Auction For

28   Sale Of Personal Property; Approving Division Of Proceeds Agreement With Landlord Pursuant


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 1   To 11 U.S.C. § 503(b) (“Sale Motion”). On February 28, 2025, the Court entered its Order
 2   Authorizing Employment Of Great American Global Partners, Inc. Auctioneer Of Personal
 3   Property Inventory And Payment Of Expenses At Conclusion Of Online Auction. [ECF No.
 4   1608].
 5            4.    In early March 2025, GA Global created its online presence announcing an auction
 6   date of April 3, 2025, for the sale of the Meta Materials personal property to be sold by auction.
 7   Exhibit A is the GA Global internet web page which provided the specifics for the Auction,
 8   including the date, time, list of personal property items included in the auction, bid procedures and
 9   other pertinent information relevant to the auction process.
10            5.    Exhibit A describes Miscellaneous Equipment, Facilities Equipment, Office
11   Equipment and five separate ‘lots’ of Intellectual Property owned by Meta Materials. With respect
12   to the Intellectual Property, the GA Global disclosures provide that: “All Meta Materials Patents
13   will be offered at Auction, Each Patent Lot will be sold by Business Unit, Buyers are Responsible
14   for doing their own due diligence as to the Status of each Patent.”
15            6.    At the Auction held on April 3, 2025, the items listed in the invoice attached as
16   Exhibit B were purchased by Panasonic Industrial Devices Sales Company of America, Division
17   of Panasonic Corporation of North America and the related patents listed on Exhibit C were
18   purchased by Panasonic Industry Co., Ltd. (jointly, “Panasonic”).
19            7.    Counsel for Panasonic has requested that the transfer documentation specifically
20   provide language to the effect that the sale is ‘free and clear’. Because that language is not
21   specifically included in the Sale Motion or in the Auction Order, I am requesting a Supplemental
22   Order Confirming Sale Of Certain Assets And Intellectual Property Assets To Panasonic Pursuant
23   To 11 U.S.C. § 363(B). As an additional precaution, my counsel has obtained formal UCC-1
24   searches with the States of California, Delaware and Massachusetts, the three states in which the
25   Debtor was incorporated, to determine whether there are any creditors asserting a security interest
26   in any of the personal property being sold through the GA Global auction process. The searches
27   did not identify any UCC-1 filings involving Meta Materials, current or lapsed.
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 1          8.      Based upon the foregoing, I request entry of a Supplemental Sale Order authorizing
 2   me to execute Bills of Sale transferring title to personal property assets purchased at the April 3,
 3   2025 auction conducted by GA Global, which provide that the sales of the personal property,
 4   including Intellectual Property are sold “As-is and Where-is”, free and clear of liens and
 5   encumbrances, or similar language as appropriate in the circumstance.
 6          DATED: June 4, 2025.
 7
                                                   /s/ Christina Lovato
 8                                                 Christina Lovato, Chapter 7 Trustee
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